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285 Passaic Street, Hackensack. NJ 07601   I   tel: 201.282.6500 I fax: 201 .282.6501 I www.steinsakslegal.com



November 3, 2020

Via CM/ECF
The Honorable John G. Koeltl
United States District Court
SouthemDistrictofNewYork

       Re:
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               Williams vs Noah Clothin LLC
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DearJudge Koehl:                                                    G;f;                    ~S, 7). y                               l , /'1(   iJtJ
We represent the plaintiff in the above matter. We write to respectfully request that the initial
conference currently scheduled for November 4, 2020 at 11 :30am be adjourned. The Defendant is
in default and has not made contact at all with Plaintiff.

This is the first request for an adjournment. The Plaintiff will file for default within 45 days.

We thank Your Honor and the Court for its kind considerations and courtesies.


                                                                                     Respectfully submitted,

                                                                                     s/ David Force
                                                                                     David Force, Esq.

cc:    All Counsel of Record via ECF
